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                                                                          C��� N�. 22CV24876

          The Estate of Sharon S. Newton vs Life Care Centers of America, Inc.,      §                           Case Type: Tort - General
          McMinnville Medical Investors, LLC, Developers Investment Company,         §                           Date Filed: 07/28/2022
          Inc.                                                                       §                            Location: Multnomah
                                                                                     §
                                                                                     §


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                                                                                                                                  Attorneys
          Defendant      Developers Investment Company, Inc.


          Defendant      Life Care Centers of America, Inc. Doing
                         Business As Life Care Center of
                         McMinnville


          Defendant      McMinnville Medical Investors, LLC


          Plaintiff      The Estate of Sharon S. Newton


                                                                       E����� � O����� �� ��� C����

                     OTHER EVENTS AND HEARINGS
          07/28/2022 Complaint
                       Personal Injury; NOT SUBJECT TO MANDATORY ARBITRATION
                       Created: 07/28/2022 3:16 PM
          07/28/2022 Service
                        Life Care Centers of America, Inc.             Served                           08/11/2022
                                                                       Returned                         08/29/2022
                        McMinnville Medical Investors, LLC             Served                           08/11/2022
                                                                       Returned                         08/29/2022
                        Developers Investment Company, Inc.            Served                           08/11/2022
                                                                       Returned                         08/29/2022
                       Created: 07/28/2022 3:16 PM
          08/29/2022 Summons
                       Created: 08/30/2022 10:11 AM
          08/29/2022 Proof - Service
                       Created: 08/30/2022 10:11 AM
          08/29/2022 Summons
                       Created: 08/30/2022 10:11 AM
          08/29/2022 Proof - Service
                       Created: 08/30/2022 10:11 AM
          08/29/2022 Summons
                       Created: 08/30/2022 10:11 AM
          08/29/2022 Proof - Service
                       Created: 08/30/2022 10:11 AM


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                      Plaintiff The Estate of Sharon S. Newton
                      Total Financial Assessment                                                                                                          884.00
                      Total Payments and Credits                                                                                                          884.00
                      Balance Due as of 09/09/2022                                                                                                          0.00

          07/28/2022 Transaction Assessment                                                                                                                884.00
          07/28/2022 xWeb Accessed eFile          Receipt # 2022-493150                               The Estate of Sharon S. Newton                     (884.00)




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 4                                     IN THE CIRCUIT           COURT       OF THE ST ATE OF OREGON

 5                                                    FOR THE COUNTY                 OF MULTNOMAH

 6
         DAROLD      D. NEWTON,    as Personal
 7       Representative   for the ESTATE OF SHARON                                   Case No.
         S. NEWTON,
 8                                                                                   COMPLAINT
                                         Plaintiff,                                  (Personal   Injury-Sexual        Abuse of an Elderly
 9                                                                                   or Vulnerable      PersorilRespondeat     Superior;
                    V.                                                               Intentional   Infliction of Emotional
10                                                                                   DistresslRespondeat         Superior: Negligence;
         LIFE CARE CENTERS          OF AMERICA,       INC., a                        Statutory Negligence;        Elder Abuse)
11       Tennessee     corporation, dba LIFE CARE
         CENTER      OF MCMINNVILLE,       an assumed                                JURY          TRIAL            DEMANDED
12       business    name, MCMINNVILLE       MEDICAL
         INVESTORS,       LLC, a Tennessee    limited                                (CLAIM NOT SUBJECT   TO
13       liability company,   DEVELOPERS                                             MANDATORY   ARBITRATION)
         INVESTMENT         COMPANY,    INC., a
14       Tennessee     corporation,                                                  Prayer amount: $5,025,000.00                                            (plus Treble
                                                                                     Damages   and Attorney Fees)
15                                       Defendants.
                                                                                     Fee Authority:                 ORS 21.160)
16
                    PLAINTIFF         ALLEGES:
17
                                            (ALLEGATIONS               COMMON               TO ALL                 CLAIMS)
18
                                                                                1.
19
                    At all times mentioned herein,              Plaintiff is the duly-appointed                             personal                 representative             for
20
         the Estate       of Sharon     S. Newton.
21
                                                                                2.
22
                    At all times      mentioned       herein,   Defendant            Life Care Centers                      of America,                  Inc., doing
23
         business        as Life Care Center          of McMinnville     ("Life       Care"),             was and is a Tennessee                                   corporation,
24
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                                                      fflffifflSWanSOn'LaihenlPreS[l/V'lChlP
                                                                        T H F    P F l)   S (   hi is i    I N I    q   v   i   rs w   t   i    vi

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 1   authorized      to do business                 in Oregon               and generally                  in the business                of providing            health    care,

 2   skilled-nursing          care, and assisted                        living services               to vulnerable                individuals,        particularly         to the

 3   elderly    and disabled.

 4                                                                                               3.

 5              At all times         mentioned                herein,        Defendant                McMinnville                 Medical      Investors,          LLC, ("Medical

 6   Investors")     was and is a Tennessee                                limited        liability        company,               authorized        to do business             in

 7   Oregon,       and generally             in the business                     of providing              health      care, skilled-nursing                      care, and

 8   assisted      living services            to vulnerable                 individuals,              particularly            to the elderly           and disabled.

 9                                                                                               4.

10              At all times         mentioned                herein,        Defendant                Developers               Investment           Company,           Inc.,

11   ("Developers        Investment")               was and is a Tennessee                                 corporation,              authorized          to do business              in

12   Oregon      and generally             in the business                       of providing           health        care, skilled-nursing                   care, and

13   assisted      living services            to vulnerable                 individuals,              particularly            to the elderly           and disabled.

14                                                                                               5.

15              At all times         mentioned                herein,        Defendants,                collectively               or individually,         operated         a skilled-

16   nursing    and rehabilitation                facility        ("Defendants'                  Facility")         at 1309           NE 27'h Street              in McMinnville,

17   Yamhill    County,        Oregon.           Plaintiff's            decedent,             Sharon           Newton,             was a resident            and/or        patient    at

18   Defendants'       Facility        since approximately                           September                 of 2018 after having                  suffered        a stroke        and

19   in need of assistance.


20                                                                                               6.

21              At all times         mentioned                herein,        Santiago             Campos-Brambila                        ("Campos-Brambila")                   was

22   Defendants'       employee,              working            at Defendants'                   Facility        as a certified              nursing      assistant        ("CNA"),

23   and was acting           within       the course                 and scope             of his employment                       and/or      his employment                placed

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26                                                            Swanson               Lathen          Prestwich                pc
                                                              T H E     P E R S O N A L      I N I U R Y    L A W    F I R M


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him in contact              with     vulnerable           patients,       including       Plaintiff's      Decedent,           Sharon      Newton.

CNA,       Campos-Brambila's                     role was        to care      for, and attend             to, the needs           of DeTendants'

residents          and      patients.       As a CNA,            Campos-Brambila                 was       placed       in a position        of trust,

confidence            and one         in which         he had

Plaintiff's        Decedent.




              Defendants             authorized           and    empowered            Campos-Brambila                     to perform       all

and      placing      Campos-Brambila                     in close      contact       with    vulnerable          and      elderly    individuals

his employment.                    Said    employment             enabled

included        changing            of adult     incontinence             briefs,     cleaning          or washing          of genitals      and

sexual        organs,        and to have           access        to patients'         personal          or intimate         space,     including

Decedent.           Defendants             knew,        or reasonably          should         have      known,       that      as part of his

CNA,       Campos-Brambila                     would       be placed         in a position        of trust,      confidence          and     one

access        to elderly        and       vulnerable         individuals,         including       Plaintiff's       Decedent.          At all times

to this    Complaint,              Defendants           authorized          or ratified       Campos-Brambila's                   conduct        in

duties     as a CNA.




              While      performing            duties      of a CNA         within     Defendants'            Facility,

furthering         his duties         in that     role,     Campos-Brambila                  befriended          Plaintiff's      Decedent,

trust    and confidence                 over    the course            of his care for her physical                  needs,        and spend

time     with    Plaintiff's        Decedent           while     acting      as one of her CNAs.                    As a result,

gained        Plaintiff's      Decedent's           trust       and    complied        with    directions         or instructions

This     course       of conduct           is referred          to in this    Complaint           as "Grooming.                 Alternatively,



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 1   conjunction           with the Grooming                         activity,       Campos-Brambila                         acted         as a person             with authority          over

 2   Plaintiff's         Decedent           as a caregiver,                  resulting           in Plaintiff           following          Campos-Brambila's

 3   instructions.

 4                                                                                                    9.

 5                 Using      his authority                 and position             of trust as a CNA in Defendants'                                     Facility,         and through

 6   the Grooming              process,             Campos-Brambila                           instructed             and directed            Plaintiff's           Decedent         to positio

 7   herself       in ways          that enabled               and furthered                  Campos-Brambila                           to sexually        assault          Plaintiff's

 8   Decedent            as discussed                below.            Campos-Brambila's                         Grooming                actions       and/or        his actions          as a

 9   CNA for Plaintiff's                decedent              were:

10                 9.1.            Committed                in direct       connection               with and for the purpose                           of fulfilling         his

11                                 employment                and agency               with Defendants;

12                 9.2             Committed                within      the time and space                           limits of his agency                 as a CNA;

13                 9.3             Done         initially     and, at least in part, from a desire                                       to serve       the interests            of

14                                 Defendants;


15                 9.4             Done directly               in the performance                         of his duties             as a CNA;

16                 9.5             Consisted            generally            of actions            of a kind and nature                       which        Campos-Brambila                  was

17                                 required         to perform              as a CNA;

18                 9.6             Done at the direction                       of, and pursuant                      to, the power             vested         in him by Defendants

19                 Defendants,              through           their agents,              had a right to control                          Campos-Brambila's                      Grooming         of

20   patients       and/or         residents           of Defendants'                   Facility          as a CNA and/or                    Campos-Brambila's

21   interactions          with Plaintiff's                 decedent           as a CNA.                  Alternatively,                or in conjunction                 with the

22   Grooming             process,         Campos-Brambila's                          authorized                actions         as a CNA led to and/or                         resulted     in

23   the sexual           abuse        of Plaintiff's               Decedent.

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26                                                                  Swanson            Lathen             Prestwich                pc
                                                                    T H E   P E R S O N A L       I N l U R Y    L A W      F I Q Si


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                                                                                               10.


            Campos-Brambila,                        as a CNA              and        health         care          worker         employed            by Defendants,                  and


while     on Defendants'                   Facility's          premises,            engaged               in intentional                 conduct        resulting          in physical


injury,     mental      injury,           sexual      abuse            and sexual              exploitation                of Plaintiff's           Decedent.              Specifically,


on or about          August          3, 2020,           and        perhaps           on other            occasions,                  Campos-Brambila                      sexually


penetrated          Plaintiff's           Decedent's               vagina         and/or            rectum          with        one or more             fingers          and/or      erect


penis.      All instances             of abuse            at issue              in this     Complaint                 occurred            in the context                of Campos-


Brambila's          CNA       activities           and while             Plaintiff's          Decedent                was        a resident           and/or        patient        at


Defendants'           Facility.


                                                                                               11.


            As described                  in paragraphs                 6 through             10 above,                and       prior     to Campos-Brambila's                          sexual


assault      and sexual             abuse          of Plaintiff's               Decedent,              Defendants                    knew,       or reasonably              should            have

known       that:


            11.1            Their     patients           and/or          residents             are and were                     elderly,     vulnerable,                and,      in many


                            instances,             lacking            physical           or mental           capacity            to protect          themselves;


            11.2            While         caring      for its patients                   and/or        residents,               Campos-Brambila                         engaged          in

                            common            Grooming                 behavior;


            11.3            Campos-Brambila                           closed       the blinds,              the door,             or otherwise              secluded           himself          so


                            as to not be seen                     and/or          detected            while         carrying           out his CNA               duties        and      giving


                            him unsupervised                       access          to Defendants'                      patients          and/or        residents.


            Nonetheless,                  Defendants                  allowed        Campos-Brambila                             to continue            to serve          as a CNA             at


Defendants'           Facility        and       have          access        to, and           interaction              with,         Defendants'             residents            and/or


patients,      including            Plaintiff's         Decedent.



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                                                              Swanson              Lathen            Prestwich                  pc
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                                                                                  12.

           As a result of the aforementioned                             sexual abuse, sexual assault,                               molestation,         breach        of

authority,     breach of trust, and position                        as a CNA, Plaintiff's                    Decedent            suffered       to the end of her

life, severe and debilitating                mental and emotional                          injury, including             mental and emotional                    pain


and suffering,         anxiety,     shame,            humiliation,          emotional               trauma,         and permanent              psychological

damage.        All of the aforementioned                       injuries caused                Plainitff's           Decedent         to incur noneconomic

damages        in the amount           of $5,000,000.00.

                                                                                  13.

           As an additional            result and consequence                             of the aforementioned                     sexual abuse, sexual

assault,     molestation,         breach of authority,                  breach of trust, and position                             as a CNA, Plaintiff's

Decedent        incurred      economic           damages             in the approximate                     amount         $25,000.00,               the exact

amount       of which will be proven at the time of trial.

                                                             FIRST CLAIM                  FOR RELIEF

                                             (Sexual            Battery/Respondeaf                          Superior)

                                                                                  14.

           Plaintiff    realleges        and incorporates                   by reference                paragraphs              1 through 13 above.

                                                                                  15.

           While acting within the course and scope of his agency with Defendants,                                                                    Campos-

Brambila       sexually     abused         and/or sexually                  assaulted           Ptaintiff's         Decedent           in connection        with

Campos-Brambila's               CNA activities                as described            above.            The sexual abuse and/or sexual

assault      constituted      harmful and offensive                      touching            of Plaintiff's          Decedent,           to which Plaintiff's

Decedent        did not and/or could not consent.




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                                                     Swanson           Lathen         Prestwich               pc
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 1                                                                                              16.

 2               As a result           and consequence                        of Campos-Brambila's                              sexual       abuse,        sexual      assault,

 3   breach      of authority,           trust and position                    as a CNA,               Plaintiff's         Decedent              incurred        noneconomic           and

 4   economic         damages             as detailed              above.

 5                                                                                              17.


 6               In sexually           abusing          and/or            sexually        assaulting               Plaintiff's        Decedent            in connection        with

 7   Campos-Brambila's                    CNA activities,                  Campos-Brambila                          acted       with malice            or a reckless        and

 8   outrageous         indifference              to a highly              unreasonable                  risk of harm and with a conscious                               indifference

 9   to the health,          safety       and welfare                of Plaintiff's           Decedent.                Punitive          damages            against     an agent       are

10   attributable       to a principal              when          acts committed                  within           the course           and scope            of agency       lead to,

11   or result      in, a tort.        Pursuant            to ORS 31.275,                    Plaintiff            hereby        provides          notice      of his intent       to

12   move     to add allegations                  of punitive              damages            against              Defendants            at any ti:me after the filing of

13   this Complaint.

14                                                                  SECOND                CLAIM           FOR RELIEF

15                       (Intentional                Infliction             of Emotional                  Distress/Respondeaf                            Superior}


16                                                                                               18.


17               Plaintiff      realleges           and incorporates                      by reference                 paragraphs                1 through        17 above.

18                                                                                               19.


19               Campos-Brambila,                      while        engaging              in the Grooming                   process,             knowingly         and intentionally

20   caused      severe         emotional            distress            and physical                 injury to Plaintiff's               Decedent            when     Campos-


21   Brambila       sexually          abused          and/or             sexually         assaulted               Plaintiff's        Decedent           in connection         with his

22   CNA activities             as described              above.             In the alternative                    and/or        in conjunction             with the Grooming,


23   acts committed              within       the course                 and scope           of Campos-Brambila's                            agency          with Defendants           led

24
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26                                                               Swanson            Lathen             Prestwich                pc
                                                                 T H E    P E R S O N A L     I N l U R Y     L A W     F I P Si


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 1   to and/or       resulted         in Campos-Brambila                         knowingly              and intentionally                causing          severe      emotional

 2   distress     and physical               injury to Plaintiff's                Decedent.              Plaintiff's          Decedent            did, in fact, suffer        severe

 3   emotional        distress        as a result of the sexual                          abuse          and/or        sexual        assault,         and sexual         abuse

 4   and/or      sexually        assault        of an elderly              or vulnerable                person         is beyond              the bounds           of all socially

 5   tolerable      conduct.

 6                                                                                             20.

 7               As a result          of Campos-Brambila's                           sexual         abuse,          sexual         assault        and breach           of authority,

 8   trust and position             as a CNA for Plaintiff's                         Decedent,             Plaintiff's            Decedent          incurred        noneconomic

 9   and economic               damages           as detailed             above.

10                                                                                             21 .

11               In sexually          abusing          and/or           sexually         assaulting             Plaintiff's        Decedent            in connection         with

12   Campos-Brambila's                   CNA activities,                  Campos-Brambila                        acted        with malice            or a reckless        and

13   outrageous         indifference             to a highly             unreasonable                   risk of harm and with a conscious                               indifference

14   to the health,          safety      and welfare                of Plaintiff's          Decedent.                Punitive         damages            against       an agent       are

15   attributable       to a principal             when           acts committed                within         the course            and scope             of agency       lead to,

16   or result      in, a tort.       Pursuant            to ORS 31.275,                    Plaintiff          hereby        provides           notice     of his intent      to

17   move to add allegations                      of punitive            damages             against           Defendants             at any time after the filing                   of

18   this Complaint.


19                                                                      THIRD       CLAIM            FOR RELIEF

20                                                                                   (Negligence)

21                                                                                             22.

22               Plaintiff      realleges          and incorporates                      by reference               paragraphs                1 through        21 above.

23

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26                                                              Swanson            Lathen          Prestwich                 pc
                                                                T H E   P E R S O N A L     I N I U R Y    L A W      F I P Si


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 1                                                                                        23.

 2               Defendants            established              a special        relationship           with Plaintiff's             Decedent          as her health          ca

 3   provider.      That relationship                 created           a duty on the part of Defendants                              to ensure        that the care and

 4   support      provided        to Plaintiff's          Decedent             were      made         as reasonably             safe as possible               from     known

 5   dangers      or those         that should            have been reasonably                        known.         Alternatively,            or in conjunction              with

 6   the above,         Plaintiff's      Decedent               had a special            relationship          with Defendants                as an elderly           or

 7   vulnerable         person        and entrusted               to the care and control                     of Defendants.               The special           relationship

 8   created      a duty of care on the part of Defendants                                    to ensure           Plaintiff's         Decedent's            safety    while      a

 9   resident     and/or       patient       at Defendant's                 Facility.

10                                                                                        24.

11               Defendants            knew that its residents                     and/or        patients,        including           Plaintiff's      Decedent,          were

12   at risk of sexual          abuse        or sexual            assault       while     in Defendant's                  Facility     and/or       care,     including       the

13   abuse      committed          by Campos-Brambila.

14                                                                                        25.

15               Despite       the knowledge                   set forth above,             Defendants             created           a foreseeable           risk oT its

16   employees,          including         but not limited               to Campos-Brambila,                     abusing         residents          and/or      patients

17   while   residing       at Defendants'                Facility,        and failed        to undertake                 reasonable         abuse         prevention

18   measures       in one or more of the following                              ways:

19               25.1        Conducting             appropriate              background               checks      for its employees;

20               25.2        In failing       to supervise,               monitor,        or otherwise             check       the activities             of its CNAs,

21                           including          but not limited              to while       changing           of incontinence               briefs,       cleaning     or

22                           washing          of genitals             and the areas             of sexual         organs,        and while           having      access        to

23                           patients'         personal           or intimate           space;

24
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26                                                            Swanson          Lathen         Prestwich            pc
                                                              T H E   P E R S O N A L   I N I U R Y   L A W    F I R Si

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 1                25.3            In failing        to train          its employees                 and staff            in how to recognize,                     prevent,      report        and

 2                                respond          to common                  warning           signs         indicating           abuse;


 3                25.4            In allowing            or permitting                 its employees                  to close           blinds,      close      doors      or undertake

 4                                other        activities          that would            enable          its employees                   to abuse          residents        and/or

 5                                patients         in any way.


 6   These       actions          and/or        inactions            created           a foreseeable                   risk of harm,           including           sexual      abuse


 7   and/or      sexual        assault,           to its residents                   at Defendants'                   Facility,         including        Plaintiff's       Decedent.

 8                                                                                                   26.


 9               Plaintiff's         Decedent               was       a member                of the class              of individuals              to be protected             by

10   reasonable           abuse         prevention                 measures             and       the harm             alleged           is the type           of harm      one would

11   expect      to occur          by failing          to take             reasonable             abuse          prevention              measures.


12                                                                                                   27.


13               In acting          or failing         to act as alleged                      in paragraphs                 22 through              26 above,             Defendants

14   acted      with     malice        or a reckless                 and      outrageous                indifference               to a highly           unreasonable            risk of

15   harm     and with            a conscious               indifference               to the health,                 safety       and welfare             of Plaintiffs        Decedent.

16   Punitive      damages              against          an agent             are attributable                   to a principal              when        acts     committed          within

17   the course          and      scope          of agency             lead      to, or result                in, a tort.          Pursuant          to ORS          31.275,     Plaintiff

18   hereby      provides           notice         of his intent              to move            to add         allegations              of punitive           damages         against


19   Defendants           at any time              after      the filing             of this      Complaint.


20                                                                     FOURTH                 CLAIM            FOR        RELIEF


21                                                                            (Statutory               Negligence)


22                                                                                                   28.


23               Plaintiff        realleges           and      incorporates                   by reference                paragraphs                1 through          27 above.


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26                                                                 Swanson              Lathen           Prestwich                 pc
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 1                                                                                               29.


 2                Defendants               were      statutorily             negligent         in one or more                 of the following             ways:


 3               29.1             In violating          Plaintiff's          Decedent's              civil    rights     to be free from                mental       and    physical

 4                                abuse,       corporal             punishment,             and       involuntary            seclusion           in violation        of ORS


 5                                411.605(7)            and        OAR        411-085-031              0(7);


 6               29.2             In failing       to ensure              the provision              of a safe         environment              for Plaintiff's       Decedent             to

 7                                protect       her from            injury     in violation           of OAR           411-086-01              40(2);


 8               29.3             In failing      to take           reasonable             precautions             to protect          Plaintiff's        Decedent          from     inj


 9                                in violation         of OAR             411-086-01            40(2)(b).


10   These       actions          and/or       inactions            created        a foreseeable                 risk of harm,            including         sexual      abuse

11   and/or      sexual        assault,         to its residents                at Defendants'                  Facility,         including       Plaintiff's       Decedent.


12                                                                                               30.


13               Plaintiff's         Decedent             was        a member              of the class           of individuals               to be protected             by


14   reasonable          abuse          prevention                measures           and the harm                alleged           is the type          of harm      one would


15   expect      to occur          by failing         to take         reasonable              abuse          prevention            measures.


16                                                                                               31 .


17               In acting          or failing        to act as alleged                    in paragraphs               22 through              29 above,           Defendants


18   acted      with    malice         or a reckless                and      outrageous              indifference            to a highly          unreasonable              risk of


19   harm     and with            a conscious             indifference              to the health,              safety       and welfare             of Plaintiff's        Decedent.


20   Punitive      damages              against         an agent             are attributable                to a principal           when        acts     committed            within


21   the course         and       scope        of agency              lead to, or result               in, a tort.           Pursuant           to ORS        31.275,       Plaintiff


22   hereby      provides           notice       of his intent             to move          to add           allegations           of punitive          damages         against


23   Defendants           at any time             after      the filing         of this       Complaint.


24
     Page       41 - COMPLAINT
25


26                                                                Swanson            Lathen           Prestwich              pc
                                                                  T H E   P E R S 0 N A L     I N l U R Y     L A W    F I R M


27                         3040   Commercial   St SE, Suite 200    Salem. Otegon   97302   TELi503   581 2421   TOLL-FREE:   l 80 € 422 4041   FAX: 503 588 7179




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                                                                                     EXHIBIT A
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                 Case 3:22-cv-01360-HZ                                           Document 1-2                           Filed 09/09/22                        Page 13 of 26




 I                                                                           FIFTH        CLAIM               FOR       RELIEF


 2                                                                                        (Elder         Abuse)


 3                                                                                                    32.


 4                Plaintiff        realleges             and         incorporates              by reference                paragraphs                 1 through        31 above.


 5                                                                                                    33.


 6                Defendants,               by and through                      its agent           Campos-Brambila,                         physically          abused         Plaintiff's


 7   Decedent           in violation             of: ORS             124. 1 05(a),             assault;         124. 1 05(c),              recklessly          endangering             another


 8   person,       124.105(e),                  rape;     124.105(g)                  unlawful         sexual          penetration;             and 124.105(h),                 sexual


 9   abuse.


10                                                                                                    34.


11                Plaintiff's         Decedent               was        a member               of the class              of individuals               to be protected             by the


12   statutory         protections              afforded             vulnerable           person              under      ORS         124.100,           et. seq.       and the harm


13   alleged      is that         described             is said         statutes         and,       therefore,             is entitled          to all remedies              therein


14   including,         but not limited                 to, ORS              124.100(2).


15                                                                                                    35.


16                In acting          or failing          to act as alleged                     in paragraphs                 32 through                34 above,           Defendants


17   acted      with     malice        or a reckless                   and      outrageous               indifference               to a highly           unreasonable              risk of


18   harm      and with           a conscious                indifference               to the health,                 safety       and welfare              of Plaintiff's       Decedent.


19   Punitive      damages               against           an agent             are attributable                  to a principal              when        acts     committed           within


20   the course          and       scope          of agency              lead      to, or result               in, a tort.          Pursuant           to ORS         31.275,       Plaintiff


21   hereby       provides           notice         of his intent              to move           to add          allegations               of punitive         damages          against


22   Defendants           at any time                after      the filing            of this      Complaint.


23

24
     Page      12 - COMPLAINT
25


26                                                                   Swanson             Lathen           Prestwich                 pc
                                                                     T H E    P E FI S O N A L     I N I U P Y     L A W     F I P Si


27                         3040    Commercial     St SE. Suite 200    Salem. (tegon    97302    TEL:503.581     2421   TOLL-FREE:   1800   422 4041    FAX: 503 588 7179




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                                                                                         EXHIBIT A
                                                                                        Page 13 of 26
         Case 3:22-cv-01360-HZ                                        Document 1-2                             Filed 09/09/22                          Page 14 of 26




                                                                                            36.


          Plaintiff      requests          a jury         trial     on all causes                 of actions           and           claims       for relief.


          WHEREFORE,                      Plaintiff prays               for judgment                  against Defendants,                           and each          of them, for


his Decedent's           economic damages                            in the amount of $25,000.00,                                      for his Decedent's

noneconomic           damages in the amount of $5,000,000.00,                                                     for treble damages of all economic and

noneconomic           damages             together with his reasonable                                       attorneys fees pursuant to ORS

124.1   00(2),   for and for his reasonable                                  costs     and        disbursements.


          DATED          this         A        day of July,                  2022.


                                                                      Respectfully                   submitted,


                                               SWANSON,                        LATHEN,                PRESTWICH,                       P.C.

                                                                                                                           r




                                                    Travis           S.                    ch              No. 003617
                                                                      Of Atto                        r Plaintiff
                                                                    tprestwi                      lamlaw.com




Page    13 - COMPLAINT



                                                         Swanson                Lathen          Prestwich                  pc
                                                         T H E     P E R S O N A l       I N I U R Y     L A W     F I R M

                  3040   Commercial   St SE, Suite 200    Salem,    Oregon    97302   TELi 503.58T    2421    TOLL-FREE:       l 800 422 4041   FAX: 503.588   7179




                                                                                EXHIBIT A
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              Case 3:22-cv-01360-HZ                                    Document
                                                                        8/29/20221-2   Filed 09/09/22
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                                                                           22CV24876

                                   IN TmF, CIRCUff                     COURT            OF THE           ST ATE     OF OREGON

                                                      FOR      THE       COUNTY            OF MULTNOMAH


DAROLD       D. NEWTON,      as Personal
Representative    for the F,STATE    OF SHARON                                               Case No.        22CV24876
S. NEWTON,
                          Plaintiff,
                                                                                             SUMMONS
            V.



LIFE CARE CENTERS           OF AMERICA,      INC.,
a Tennessee corporation,     dba LIFE CARE
CENTER       OF MCLE,                an assumed
business name, MCLE                   MEDICAL
INVESTORS,       LLC, a Tennessee limited
liability  company,   DEVELOPERS
INVESTMENT          COMPANY,     INC., a Tennessee
corporation,

                                         Defendants.


To:         Corporation  Service Company,     Registered Agent for Life Care                                                       Centers           of America,                Inc.,
            DBA Life Care Centers of McMinnville
            1127 Broadway     Street HE, Suite 310, Salem, Oregon    97301


            You are hereby required          to appear and defend the complaint          filed against you in the above entitled         action within         thiity    (30) days from

the date of service of this summons          upon you, and in case of your failure         to do so, for want thereof,    plaintiff(s)   will    apply to the court for the

relief demanded     in the complaint.


                                           NOTICE      TO THE DEFENDANT:                READ    THESE     PAPERS    CAREFULLYi



 You must "appear"       in this case or the other side will       win automatically.      To

 "appear"   you must file with the court a legal paper called a "motion"                or "answer."

 The "motion"      or "answer"     must be given to the court clerk or administrator            within

 30 days along with the required          filing   fee. It must be in proper form and have

 proof of service on the plaintiffs        attorney   or, if the plaintiff   does not have an              SIGNA

 attomey,   proof of service upon the plaintiff.



 If you have any questions,        you should see an attomey          immediately.   If you need           Travis        S. Prestwich,               OSB           No.      00361
 help in finding    an attorney,    you may cal) the Oregon         State Bar's Lawyer      Referral       TYPE OR PRINT           NAM)E        OF RF.SIDENT             ATTORNEY

 Service at (503) 684-3763         or toll-free    in Oregon   at (800) 452-7636.



ST ATE OF OREGON:
County of Marion

            I, the undersigned attomey of record for the plaintiff,                              certify that the foregoing is an exact and complete

copy
   oftheoriginal
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                   intheabove
                           entitled
                                 action.                                                                           /s/ Ti-avis            B. Prestwicl-t
                                                                                                         ATTORNEY            OF RECORD                 FOR PLAINTIFF(S)




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                                                                                                                                                FAX: 503.588     .7179




                                                                               EXHIBIT A
                                                                              Page 15 of 26
              Case 3:22-cv-01360-HZ                              Document 1-2                      Filed 09/09/22               Page 16 of 26


TO THE OFFICER           OR OTHER         PERSON         SERVING      THIS SUMMONS:                You are hereby directed to serve a true copy of this

summons, together
               withatruecopy   ofthecomplaint
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Post Office    address     at which      papers    in the above      entitled    action      may be served      by mail:




                                                   Swanson          I Lathen      I Prestwich         i pc
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       )      CIT   740@ (el@l        St SE, Sulte 200 5alem, (regon 97302 TEL:503.581242i    TOLL-FREE:1.800.422 4041 FAX: 503.588 7179




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                                                             22CV24876


                                                     AFFIDAVIT         OF    SERVICE

                                                          County    of Multnomah                                                Circuit      Court
State    of Oregon

Case     Number:     22CV24876

Plaintiff: DAROLD   D. NEWTON,             as Personal    Representative      for the ESTATE
OF SHARON      S. NEWTON
VS .

Defendant:      LIFE CARE        CENTERS     OF AMERICA,       INC, et al

For:
Travis Prestwich
Swanson    Lathen Prestwich          PC
3040 Commercial    St SE
Ste 200
Salem, OR 97302

Received by MALSTROM'S   PROCESS   SERVING   CO. on the 9th day of August, 2022 at 10:59 pm to be served on
LIFE CARE CENTERS    OF AMERICA,  INC. dba LIFE CARE CENTERS       OF MCMINNVILLE       R/A: CORPORATION
SERVICE   COMPANY,  1127 BROADWAY     ST NE, STE 310, SALEM,    OR 9730al .

1, Bobby     Chandler,   being    duly sworn,   depose   and say that on the 1 1th       day of August,       2022 at 9:35 am, I:

       SERVED the within named LIFE CARE CENTERS         OF AMERICA,    INC. dba LIFE CARE CENTERS           OF
       MCMINNVILLE    at lt27   BROADWAY      ST NE, STE 310, SALEM,   OR 9730"l by personally    serving a true copy of
       the Summons   and Complaint      upon   AUDREY   GROOM,    who is a clerk on duty in the office of the Registered
       Agent and who is authorized  to accept service.




CERTIFICATION       OF MAILING:    I certify that on 8/1 5/2022 a true copy of Summons   and Complaint   along with a
statement  regarding  the date, time and manner of service was mailed to LIFE CARE CENTERS             OF AMERICA,    INC.
dba LIFE CARE CENTERS          OF MCMINNVILLE         R/A:  CORPORATION      SERVICE   COMPANY     at  1127  BROADWAY
ST NE, STE 310, SALEM,       OR 97301 by First Class Mail postage paid.




 Description    of Person        Served:   Age: 25, Sex: F, Race/Skin       Color:   CAUCASIAN,      Height:    5'8", Weight:   200,      Hair:
 BROWN       Glasses:  N




                                                                                MALSTROM'S     PROCESS            SERVING       CO.
                                                                                155 Culver Lane S
         ARY PUBLIC                                                             Salem, OR 97302
                                                                                 (503)   585-0234

                                                                                 Our Job Serial     Number:     ONE-2022003547
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                         Case 3:22-cv-01360-HZ                Document 1-2         Filed 09/09/22                        Page 18 of 26




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                                                                                22CV24876

                                        IN THE           CIRCUIT             COURT            OF THE             ST ATE     OF OREGON

                                                           FOR      THE        COUNTY              OF MULTNOMAH


DAROLD       D. NEWTON,      as Personal
Representative    for the ESTATE     OF SHARON                                                     Case No.          22CV24876
S. NEWTON,
                          Plaintiff,
                                                                                                   SUMMONS
             V.



LIFE CARE CENTERS           OF AMERICA,      INC.,
a Tennessee corporation,     dba LIFE CARE
CENTER       OF MCLE,                an assumed
business name, MCLE                   MEDICAL
INVESTORS,       LLC, a Tennessee limited
liability  company,   DEVELOPERS
INVESTMENT          COMPANY,     INC., a Tennessee
corporation,

                                              Defendants.


To:           Corporation  Service Company,     R.A. for McMinnville                                                      Medical        Investors,            LLC.,
              1127 Broadway     Street NE, Suite 310, Salem, Oregon                                                       97301


              You are hereby required             to appear and defend the complaint           filed against you in the above entitled      action within        thirty   (30) days from

the date of service of this summons               upon you, and in case of your failure          to do so, for want thereof,    plaint's)    will    apply to the court for the

relief demanded          in the complaint.


                                                NOTICE      TO THE DEFENDANT:                 READ      THESE     PAPERS    CAREFULLY!



 You must "appear"            in this case or the other side will        win automatically.        To

 "appear"    you must file with the court a legal paper called a "motion"                     or "answer."

 Tlie "motion"          or "answer"     must be given to the court clerk or administrator               within

 30 days along with the required               filing   fee. It must be in proper fom         and have

 proof of    sei'vice     on the plaintiffs     attorney    or, if the plaintiff   does not have an                SIGNATURE        OF

 attoniey,    proof of service upon the plaintiff.



 Ifyou   have any questions,            you should see an attomey           immediately.   Ifyou     need          Travis      S. Prestwich,             OSB         No.     00361
 help in finding         an attorney,    you may call the Oregon          State Bar's Lawyer       Referral        TYPE    OR PRINT      NAME       OF RESIDENT            ATTORNEY

 Service at (503) 684-3763              or toll-free    in Oregon   at (800) 452-7636.



ST ATE OF OREGON:
Coiu'ity of Marion


              I, the undersigned attorney of record for the plaintiff,                                   certify that the foregoing is an exact and complete

copy
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              siunmons
                   intheabove
                           entitled
                                 action.                                                                                    Isl Ti-avis         S. Prestwich
                                                                                                                 ATTORNEY           OF RECORD                 FOR PLAINTIFF(S)




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           Case 3:22-cv-01360-HZ                      Document 1-2               Filed 09/09/22                  Page 20 of 26


TO THE OFFICER OR OTHER PERSON SERVING THIS SUMMONS:                                 You are hereby   directed   to sene   a true copy of this

summons, together with a tnie copy of the complaint mentioned therein, upon the indivi%l(s) or other                       entity(ies) to whom
or which this summons is directed, and to make your proof of service on the reverse he    or upon 3                         similar document
which   you shall attach hereto.




Post Office address at which papers in the above entitled action may be served by mail:




                                          Swanson          I Lathen   I Prestwich           pc
                                          TH   E   P E R S0NAL    I N I URY   L AW    FI   R I.!



Pa g e 2      S UmSI               S(SE,
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                                                 Oregon
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                                                                                     22CV24876


                                                                               AFFIDAVIT                 OF SERVICE

State        of Oregon                                                                County        of Multnomah                                                                          Circuit          Court

Case         Number:       22CV24876

Plaintiff:       DAROLD           D. NEWTON,               as Personal               Representative                for    the     ESTATE
OF SHARON                S. NEWTON
VS

Defendant:          LIFE        CARE      CENTERS                OF AMERICA,                 INC,      et al

For:
Travis       Prestwich
Swanson  Lathen                 Prestwich,         PC
3040 Commercial                  St SE
Ste 200
Salem,  OR 97302

Received          by MALSTROM'S                   PROCESS               SERVING              CO.      on the 9th day of August,                      2022      at 10:59     pm to be served                     on
MCMINNVILLE                  MEDICAL             INVESTORS,                   LLC    R/A:     CORPORATION                       SERVICE             COMPANY,             1127     BROADWAY                     ST
NE, STE           3al O, SALEM,           OR 97301           .

     Bobby       Chandler,        being      duly     sworn,         depose          and    say that          on the 1 1 th day            of August,           2022     at 9:35       am,    I:

        SERVED          the within        named         MCMINNVILLE                   MEDICAL                 INVESTORS,               LLC      at 1127      BROADWAY               ST NE, STE
        310,     SALEM,         OR 97301            by personally              serving       a true     copy      of the Summons                    and     Complaint            upon         AUDREY
        GROOM,            who     is a clerk       on duty          in the office          of the     Registered          Agent         and who       is authorized             to accept        service.




CERTIFICATION                   OF MAILING:                I certify     that       on 8/1 5/2022             a true     copy     of Summons              and    Complaint          along     with        a
statement          regarding        the date,         time       and    manner           of service       was      mailed        to MCMINNVILLE                   MEDICAL            INVESTORS,
LLC       R/A:     CORPORATION                   SERVICE               COMPANY               at 1127          BROADWAY                  ST NE, STE           310,      SALEM,          OR 97301                by
First     Class     Mail     postage       paid.




Description             of Person         Served:        Age:       25, Sex:         F, Race/Skin              Color:     CAUCASIAN,                 Height:     5'8",    Weight:         200,         Hair:
BROWN,             Glasses'        N

I declare         I am a resident            of the State            of Oregon.            I am a competent                   person      18 years        of age or older           and      not a party             to
or attorney         in this      proceeding.            I certify      that    the    person,         firm,    or corporation             served      is the identical           one    named            in this
action.        I hereby      declare      that      the above           statement           is true     to the best            of my knowledge               and belief,         and that          I
understand             it is made      for use as evidence                     in court      and      is subject         to             Ity for perjury.




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                                   IN THE           CIRCUIT             COURT            OF THE            ST ATE        OF OREGON

                                                      FOR      THE        COUNTY            OF MULTNOMAH


DAROLD       D. NEWTON,      as Personal
Representative    for the ESTATE     OF SHARON                                                Case No.         22CV24876
S. NEWTON,
                          Plaintiff,
                                                                                              SUMMONS
             V.



LIFE        CARE       CENTERS               OF AMERICA,                      INC.,
a Tennessee corporation,    dba LIFE CARE
CENTER       OF MCLE,               an assumed
business name, MCLE                  MEDICAL
INVESTORS,       LLC, a Tennessee limited
liability  company,   DEVELOPERS
INVESTMENT          COMPANY,    INC., a Tennessee
corporation,

                                         Defendants.


To:          Corporation             Service          Company,    Registered Agent for Developers   Investment                                                     Company,
             Inc., 1127           Broadway             Street NE, Suite 310, Salem, Oregon    97301


             You are hereby required         to appear and defend the complaint           filed against you in the above entitled         action within       thirty     (30) days from

the date of service of this summons          upon you, and in case of your failure          to do so, for want thereof,    plaintiff(s)   will    apply to the court for the

relief demanded     in the complaint.


                                           NOTICE      TO THE DEFENDANT:                 RE,=U) THESE       PAPERS    CAREFULLYi



 You must "appear"       in this case or the other side will        win automatically.       To

 "appear"    you must file with the court a legal paper called a "motion"                or "answer."

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 attorney,   proof of service upon the plaintiff.



 If you have any questions,        you should see an attorney          immediately.   If you need            Travis       S. Prestwich,               OSB          No.      00361
 help in finding    an attomey,     you may call the Oregon          State Bar's Lawyer      Referral        TYPE OR PRINT          NAME         OF RESIDENT             ATTORNEY

 Service at (503) 684-3763         or toll-free    in Oregon   at (800) 452-7636.



ST ATE OF OREGON:
County of Marion


             I, the undersigned attorney of record for the plaintiff,                              certify that the foregoing is an exact and complete

copyoftheoriginalsummonsintheaboveentitledaction.
                                  I, Travis s. Prestwt'd-i
                                                                                                           ATTORNEY           OF RECORD                 FOR PLAINTIFF(S)




                                                      ffllf!l SwansonlLathenlPrestwich)pc
                                                             aj                T HE   PERSONA L             I N1 U R v    LAW      FI RM

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TO THE OFFICER           OR OTHF.R PERSON           SERVING    THIS SUMMONS:             You are hereby directed to serve a true copy of this
summons,together with a tnie copy of the complaint mentionedtherein, upon the individual(s) or other%al entity(ies) to whom
or which this summons is directed, and to make your proof of service on the reverse hereof or upon p i                      similar   document
which you shall attach hereto.




Post Office    address    at which   papers   in the above     entitled   action   may be served     by mail:




                                              Swanson         I Lathen    I Prestwich       I pc
                                              THE     PERSO    NAL    INIURY       LAW    FIR   M


Pa g e 2      S Um3ill           S(SE,
                                    Suite
                                       200Salem,
                                              Oregon
                                                 97302
                                                     TEL:503
                                                         5812421
                                                              TOLL-FREE:
                                                                   t800.422.4041
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                                                                  22CV24876


                                                          AFFIDAVIT         OF    SERVICE

State    of Oregon                                             County     of Multnomah                                                Circuit   Court

Case     Number:     22CV24876

Plaintiff: DAROLD   D. NEWTON,                as Personal      Representative      for the ESTATE
OF SHARON      S. NEWTON
VS.

Defendant:      LIFE CARE          CENTERS      OF AMERICA,         INC, et al

For:
Travis Prestwich
Swanson    Lathen Prestwich,            PC
3040 Commercial    St SE
Ste 200
Salem, OR 97302

Received by MALSTROM'S   PROCESS   SERVING   CO. on the 9th day of August, 2022 at 10:59 pm to be served on
DEVELOPERS    INVESTMENT   COMPANY,   INC. R/A: CORPORATION       SERVICE   COMPANY,     1127 BROADWAY
ST NE, STE 310, SALEM,  OR 97301 .

1, Bobby     Chandler,     being    duly sworn,      depose   and say that on the 1 1th day of August,              2022 at 9:35 am, I:

      SERVED   the within named DEVELOPERS          INVESTMENT       COMPANY,   INC. at 1127 BROADWAY      ST NE, STE
      310, SALEM,  OR 97301 by personally     serving a true copy of the Summons     and Complaint    upon    AUDREY
      GROOM,    who is a clerk on duty in the office of the Registered  Agent and who is authorized to accept service.




CERTIFICATION        OF MAILING:   I certify that on 8/1 5/2022 a true copy of Summons  and Complaint along with a
statement   regarding the date, time and manner of service was mailed to DEVELOPERS          INVESTMENT    COMPANY,
INC. R/A: CORPORATION         SERVICE       COMPANY      at 1127 BROADWAY      ST NE, STE 310, SALEM,   OR 97301 by
First Class Mail postage paid.




Description    of Person         Served:     Age: 25, Sex: F, Race/Skin         Color:   CAUCASIAN,       Height:    5'8", Weight:   200,   Hair:
BROWN       Glasses: N

I declare I am a resident of the State of Oregon. I am a competent         person 18 years of age or older and not a party to
or attorney in this proceeding.  I certify that the person, firm, or corporation   served is the identical one named in this
action. I hereby declare that the above statement       is true to the best of my knowledge    and belief, and that I
understand it is made for use as evidence in court and is subject p                       (;3nalty   for perjury.




Siibsac'ribedand         Sworn   to before    me on the       \5    day


persoHlly-4     €nown     to me or has provided identification
                                                                                    MALSTROM'S     PROCESS             SERVING       CO.
                                                                                    155 Culver Lane S
      'rqpyrusuc                    o                                               Salem, OR 97302
                            OFFICIAL         STAMP                                  (503) 585-0234

                                                                                    Our Job Serial      Number:      ONE-2022003548
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